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 7

 8
                          UNITED STATES DISTRICT COURT
 9
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
10

11
     HYLINK (USA) DIGITAL SOLUTION                  Case No.: 2:19-cv-8222
12 CO. LTD. & Jiahui LI,

13                                                  COMPLAINT FOR
                               Plaintiffs,          DECLARATORY AND
14                                                  INJUNCTIVE RELIEF AND
15          vs.                                     REVIEW OF AGENCY ACTION
                                                    UNDER THE ADMINISTRATIVE
16 Kathy A. BARAN, in her Official                  PROCEDURE ACT
17 Capacity, Director of the California
     Service Center, U.S. Citizenship and           Immigration Case, Administrative
18 Immigration Services, U.S. Department of         Procedure Act Case
19 Homeland Security;

20 Kenneth T. CUCCINELLI, in his Official

21 Capacity, Director, U.S. Citizenship and
     Immigration Services, U.S. Department of
22 Homeland Security; and

23
     Kevin K. MCALEENAN, in his Official
24 Capacity, Acting Secretary, U.S.

25 Department of Homeland Security,

26                         Defendants.
27

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     Complaint                                                          Case No. 2:19-cv-8222
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 1

 2
                                     I.     INTRODUCTION

 3      1. This action is brought pursuant to section 10b of the Administrative Procedure
 4
            Act, 5 U.S.C. § 702, et seq., seeking review of the United States Citizenship and
 5

 6          Immigration Services’ (“USCIS”) decision dated July 11, 2019, denying

 7          HYLINK (USA) DIGITAL SOLUTION CO., LTD. (“Plaintiff 1” or “Hylink”)’s
 8
            Petition for a Nonimmigrant Worker (Form I-129, hereafter “H-1B petition”) on
 9

10          behalf of Ms. Jiahui Li (“Plaintiff 2” or “Ms. Li”) for nonimmigrant

11          classification under section 101(a)(15)(H)(i)(B) of the Immigration and
12
            Nationality Act (“INA”). This action seeks to hold unlawful and set aside the
13

14          decision on the grounds that it was arbitrary and capricious, inasmuch as

15          Defendants ignored evidence on the record and failed to adhere to agency
16
            regulations and established evidentiary burdens.
17

18                                    II.   JURISDICTION
19      2. This Court has jurisdiction under 28 U.S.C. §§ 1331 (federal question
20
            jurisdiction), 1346(a)(2) (United States as a defendant), and 2201 (declaratory
21

22          judgments). Additionally, 5 U.S.C. § 702 of the Administrative Procedure Act
23          (“APA”) waives sovereign immunity for the federal government, allowing the
24
            court to exercise jurisdiction over Defendants.
25

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 1
        3. This civil action arises under several federal statutes and regulations, including

 2          the APA, 5 U.S.C. §§ 701–706; INA §§ 101(a)(15)(H), 214; 8 U.S.C. §§
 3
            1101(a)(15)(H), 1184(i); and 8 C.F.R. § 214.2(h).
 4

 5                                              III.    VENUE

 6      4. Venue is proper pursuant to 28 U.S.C. § 1391(e) as Defendants are federal
 7
            officials acting in their official capacity, the denial was issued from the USCIS
 8
 9          California Service Center located in Laguna Niguel, California, where

10          Defendant Kathy A. Baran resides in her official capacity, and both Plaintiffs
11
            reside in this judicial district.
12

13                                              IV.    PARTIES

14      5. Plaintiff Hylink is the U.S. headquarters located in Santa Monica, California of
15
            an independent, full-service digital advertising agency founded in 1994 in
16

17          Beijing, China. Since its founding, Hylink has acted as a trailblazer in the digital
18          marketing industry. It is comprised of industry leading units in the following
19
            disciplines: digital media, digital and interactive creation, big data (warehousing,
20

21          data modeling, and data application), programmatic media solutions, mobile
22          marketing, search engine marketing, content marketing, investment ERP/social,
23
            integrated advertising solutions, research, and insights. At the time of filing the
24

25          H-1B petition at issue, Hylink employed approximately 29 workers in the United
26          States with a gross annual income of $12,813,680.
27

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 1
        6. Plaintiff Jiahui Li is a 25-year-old citizen of China. Ms. Li received a Master of

 2          Arts Degree in Communication from Missouri State University in 2017 while in
 3
            valid nonimmigrant student status (“F-1”). Ms. Li has maintained valid H-1B
 4

 5          status since December 20, 2018. Prior to employment with Hylink, Ms. Li

 6          worked at Teeterpal as a Communication And Public Relations Trainee before
 7
            being promoted to a Corporate Communication Specialist (Level 2). Ms. Li was
 8
 9          offered $110,531 by Hylink to work temporarily in H-1B status and was lawfully

10          employed as Public Relations Developer from April 10, 2019 until July 11, 2019,
11
            the date of the H-1B petition denial. Ms. Li resides in Newport Beach, California.
12

13      7. Defendant Kathy A. Baran is sued in her official capacity as the USCIS Director

14          of the California Service Center (“CSC”), located in Laguna Niguel, California.
15
            The CSC is the designated USCIS office authorized to receive and adjudicate H-
16

17          1B petitions filed by employers in California. For official purposes, Ms. Baran
18          resides in the judicial district for the Central District of California.
19
        8. Defendant Kenneth T. Cuccinelli is sued in his official capacity as the Director
20

21          of the U.S. Citizenship and Immigration Services (“USCIS”), located in
22          Washington, District of Columbia. For official purposes, Mr. Cuccinelli resides
23
            in the judicial district for the District of Columbia.
24

25      9. Defendant Kevin M. McAleenan is sued in his official capacity as the Acting
26          Secretary of Homeland Security located in Washington, District of Columbia.
27

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 1
            For official purposes, Mr. McAleenan resides in the judicial district for the

 2          District of Columbia.
 3
                               V.     EXHAUSTION OF REMEDIES
 4

 5      10. Plaintiffs may seek judicial review of an H-1B petition without first seeking an

 6          administrative appeal. See Darby v. Cisneros, 509 U.S. 139, 154 (1993); see also
 7
            EG Enterprises, Inc. v. Dep’t of Homeland Sec., 467 F.Supp.2d 728, 733 (E.D.
 8
 9          Mich. 2006) (Finding jurisdiction where plaintiff had not first appealed its H-1B

10          petition denial to the Administrative Appeals Office before filing suit).
11
                                    VI.   LEGAL BACKGROUND
12

13      11. INA § 101(a)(15)(H)(i)(b) allows admission to the United States for temporary

14          workers sought by petitioning U.S. employers “to perform services…in a
15
            specialty occupation…”. See also 8 U.S.C. § 1101(a)(15)(H)(i)(b). This is
16

17          commonly known as the H-1B visa.
18      12. A “specialty occupation” is defined as an occupation that requires the (A)
19
            theoretical and practical application of a body of highly specialized knowledge,
20

21          and (B) attainment of a bachelor’s or higher degree in the specific specialty (or
22          its equivalent) as a minimum for entry into the occupation in the United States.
23
            See 8 U.S.C. § 1184(i)(1).
24

25      13. Additionally, the requirements for a specialty occupation are:
26               (A) full state licensure to practice in the occupation, if such licensure is
27
                 required to practice in the occupation,
28
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 1
                 (B) completion of the degree described in paragraph 1(B) for the occupation,

 2               or
 3
                 (C) experience in the specialty equivalent to the completion of such degree,
 4

 5               and recognition of expertise in the specialty through progressively

 6               responsible positions relating to the specialty. See 8 U.S.C. § 1184 (i)(2); see
 7
                 also INA § 214(i)(2).
 8
 9      14. Prior to filing the petition with USCIS, the U.S. employer must file a Labor

10          Condition Application (“LCA”) with the U.S. Department of Labor (“DOL”), in
11
            which the employer makes specific attestations meant to ensure the temporary
12

13          foreign worker’s employment will not have a negative effect on the wages and

14          working conditions of a similarly-situated U.S. worker. See 8 U.S.C. §§
15
            1182(n)(1)(A)-(D). As part of this process, the employer may request a
16

17          prevailing wage from the DOL online wage library, using a Standard
18          Occupational Classification (“SOC”) for the position, the job location, and a
19
            wage level determined by the education and experience requirements for the
20

21          position. Once the DOL certifies the LCA, it is included with the H-1B petition
22          filed with USCIS.
23
        15. Under the concept of H-1B portability pursuant to Section 105 of AC 21, when
24

25          a foreign worker is already in the United States as an employee of an H-1B
26          employer, the employee is able to start new employment for a new H-1B
27
            employer upon the employer’s filing of an H-1B petition on behalf of the foreign
28
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 1
            worker. This also allows the foreign worker to begin working for the petitioning

 2          employer in valid H-1B status while USCIS adjudicates the petition. The
 3
            employer is able to file the petition requesting for USCIS to approve the new H-
 4

 5          1B status for the employee and the employer may concurrently request an

 6          extension of the employee’s H-1B status in the petition. See INA § 214(n), 8
 7
            U.S.C. § 1184(n) and 8 C.F.R. § 214.2(h)(2)(i)(H). However, if the H-1B
 8
 9          portability petition is denied, the foreign worker immediately loses her work

10          authorization and H-1B status.
11
        16. USCIS regulations clarify that in order to qualify as a specialty occupation, the
12

13          position must meet one of the following criteria:

14               a. A baccalaureate or higher degree or its equivalent is normally the
15
                    minimum requirement for entry into the particular position;
16

17               b. The degree requirement is common to the industry in parallel positions
18                  among similar organizations, or, in the alternative, an employer may show
19
                    that its particular position is so complex or unique that it can be performed
20

21                  only by an individual with a degree;
22               c. The employer normally requires a degree or its equivalent for the position;
23
                    or
24

25               d. The nature of the specific duties is so specialized and complex that
26                  knowledge required to perform the duties is usually associated with the
27

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 1
                  attainment of a baccalaureate or higher degree. See 8 C.F.R. §

 2                214.2(h)(4)(iii)(A)(1)-(4).
 3
                                 VII. STATEMENT OF FACTS
 4

 5      17. Plaintiffs hereby request this Court to enter declaratory and injunctive relief

 6          against Defendants, United States Citizenship and Immigration Services
 7
            (“USCIS”) and the Department of Homeland Security (“DHS”) based on the
 8
 9          improper, arbitrary denial of Plaintiffs’ Petition for Nonimmigrant Worker

10          (Form I-129, hereafter “H-1B petition”). Hylink filed the H-1B petition on
11
            behalf of Ms. Li in order to employ her as its Public Relations Director.
12

13      18. Plaintiff Hylink is the U.S. headquarters of an independent, full-service digital

14          advertising agency founded in 1994 in Beijing, China. Today, Hylink has more
15
            than 20 offices worldwide, including in California, New York, London, Paris,
16

17          and Seoul. It is comprised of industry leading units in the following disciplines:
18          digital media, digital and interactive creation, big data (warehousing, data
19
            modeling, and data application), programmatic media solutions, mobile
20

21          marketing, search engine marketing, content marketing, investment ERP/social,
22          integrated advertising solutions, research, and insights. Hylink also serves
23
            Fortune Global 500 companies in the United States and abroad. Since its
24

25          founding, Hylink has acted as a trailblazer in the digital marketing industry. As
26          an increasing number of American brands are seeking to appeal to the Asian
27
            consumer base, Hylink has stepped up to fill the service gap. See Exhibit E.
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 1
        19. In 2016, Plaintiff Hylink opened its U.S. headquarters in Santa Monica,

 2          California. Hylink is the advertising agency of record for a number of major
 3
            industries including airlines, travel tourism, and health & wellness. Hylink’s
 4

 5          work has been honored with major advertising industry awards such as the Drum

 6          Awards, the Shorty Awards, and the American Advertising Awards (“ADDYs”).
 7
            Hylink is dedicated to providing high quality service to its clients and creating
 8
 9          effective digital marketing solutions. Id.

10      20. Ms. Li is a Chinese citizen who earned her advanced degree in the United States
11
            while in valid nonimmigrant student status. She received her Bachelor of Arts in
12

13          Translation (English and Chinese) in 2016 from XIAN International Studies

14          University, during which time she attended summer school at the University of
15
            California, Berkeley for Communication-Public Relations. In December 2017,
16

17          she received her Master of Arts in Communication from Missouri State
18          University. Id.
19
        21. Prior to Hylink’s filing of its H-1B petition, Ms. Li held valid H-1B status
20

21          working for TeeterPal as a Corporate Communication Specialist (Level 2) from
22          December 2018 until April 2019. Ms. Li has always complied with the terms of
23
            her nonimmigrant status both as a student and employee. Id. Since Ms. Li was
24

25          in valid H-1B status at the time of Hylink’s filing the H-1B portability petition
26          on her behalf, she was able to begin working for Hylink as the Public Relations
27

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 1
            Director while USCIS adjudicated the H-1B petition. See 8 C.F.R. §

 2          214.2(h)(2)(i)(H).
 3
        22. Under the INA, a United States employer may sponsor a foreign national
 4

 5          temporarily to “perform services…in a specialty occupation.” See generally INA

 6          § 214(h); see also 8 U.S.C. §§ 1101(a)(15)(H)(i)(b), 1184(c). An employer
 7
            sponsors a foreign national by filing Form I-129, the H-1B petition, with USCIS.
 8
 9          The H-1B visa category focuses on highly skilled, educated foreign nationals,

10          and places them as employees in “specialty occupations” – those which require
11
            the theoretical and practical application of a body of highly specialized
12

13          knowledge, along with a bachelor’s or higher degree, or the equivalent of such,

14          in a specific specialty.
15
        23. On March 26, 2019, Hylink filed an H-1B petition on behalf of Ms. Li, including
16

17          a request for extension of her current H-1B status. See Exhibit D. Hylink sought
18          to employ Ms. Li in the position of Public Relations Director, which falls into
19
            the category of Public Relations or Fundraising Manager as defined by the U.S.
20

21          Department of Labor (“DOL”). See Exhibit E. The Public Relations Director is
22          responsible for independently managing the company’s communications and
23
            public relations in North America, relating to Hylink’s product platforms and
24

25          service offerings, including Hylink Digital Solutions and Hylink Investments.
26          Hylink requires an employee in the Public Relations Director position to have at
27

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 1
            least a bachelor’s degree in Public Relations, Communication, or a related field.

 2          Id.
 3
        24. To support the petition, Hylink included a letter explaining in detail the position
 4

 5          offered along with its associated job duties and responsibilities, among other

 6          documents. The letter confirmed that the degree requirement for the position is
 7
            “at minimum a bachelor’s degree in Public Relations, Communication, or related
 8
 9          field.” See Exhibit E at 225. Hylink also included the relevant sections from an

10          online source of occupational information published by the DOL, showing the
11
            position met the definition of “specialty occupation” provided under the INA.
12

13          Additionally, Hylink submitted evidence of Ms. Li’s qualifications for the

14          position of Public Relations Director, such as her Master of Arts degree in
15
            Communication with her degree transcript, as well as her resume. Id.
16

17      25. On April 4, 2019, USCIS issued a Request for Evidence (“RFE”), claiming that
18          Hylink had not satisfied any of the regulatory criteria for the position to qualify
19
            as a specialty occupation. See Exhibit C.
20

21      26. On June 27, 2019, Hylink filed a timely response to USCIS’s RFE, providing
22          additional evidence that sufficiently demonstrated the proffered position
23
            qualified as a specialty occupation. Specifically, Hylink included a letter from
24

25          their Managing Director, Mr. Humphrey Ho, providing Ms. Li’s job
26          responsibilities in greater detail, along with an analysis of how her coursework
27
            from her degrees prepared her to perform each job duty. Since Ms. Li was able
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 1
            to begin working for Hylink while the petition was pending, Mr. Ho also referred

 2          to some of her work product and its complexity, providing examples of her work
 3
            product as well. Additionally, Mr. Ho attached Hylink’s organizational chart
 4

 5          with a current job posting for a Public Relations Specialist position that would

 6          be supervised by Ms. Li. These and the other supporting documents established
 7
            the degree requirement for the position and that Public Relations Director is a
 8
 9          specialty occupation. See Exhibit B.

10      27. Hylink also provided several types of evidence to demonstrate that a degree in
11
            a specific specialty is normally required for a Public Relations Director position.
12

13          This included industry articles about the Public Relations field, as well as articles

14          from various job search engines that describe a Public Relations Director’s job
15
            responsibilities and the qualifications required for such a position. These
16

17          requirements are supported by job postings from similar organizations to Hylink
18          showing comparable job duties and showing that the positions require a degree
19
            in a specific specialty. These job postings, along with the job duties provided by
20

21          Hylink, were analyzed by a professional recruiter, Ms. Jenna Ehrlich, who
22          provided her expert opinion that Hylink’s proffered position of Public Relations
23
            Director is a specialty occupation that requires a degree in a specific specialty.
24

25          Id.
26      28. On July 11, 2019, USCIS denied Hylink’s H-1B petition on behalf of Ms. Li.
27
            See Exhibit A. USCIS erroneously determined that Hylink had not proved that
28
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 1
            the proffered position of Public Relations Director is a specialty occupation in

 2          accordance with 8 C.F.R. § 214.2(h)(4)(iii)(A). USCIS also denied the request
 3
            for extension of status since the H-1B petition was denied. Id.
 4

 5      29. In denying the H-1B petition, USCIS ignored substantially probative evidence

 6          of the position’s job duties and responsibilities, its complexity, and how this
 7
            substantiates Hylink’s degree requirement in a specific field. USCIS also
 8
 9          ignored the expert opinion from the professional recruiter finding that the Public

10          Relations Director position is a specialty occupation. This constitutes a
11
            misapplication of the law and misinterpretation of the facts presented on the
12

13          record. Defendants’ actions were arbitrary, capricious, and contrary to the law

14          under the Administrative Procedure Act (“APA”). Therefore, Plaintiffs request
15
            that the Court vacate the denial and approve the H-1B petition to ensure that
16

17          USCIS cannot continue to erroneously deny petitions for similar public relations
18          positions contrary to the APA and relevant immigration law.
19
                                    VIII. CAUSE OF ACTION
20

21      30. Plaintiffs re-allege and incorporate herein by reference, as if fully set forth
22          herein, the allegations in paragraphs 1-29 above.
23
        31. Under 5 U.S.C. § 706(2), the Court shall “hold unlawful and set aside agency
24

25          action … found to be – (A) arbitrary, capricious, an abuse of discretion, or
26          otherwise not in accordance with law; (B) contrary to constitutional right,
27

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 1
            power, privilege, or immunity; [or] (C) in excess of statutory jurisdiction,

 2          authority, or limitations, or short of statutory right.”
 3
        32. This cause of action is brought against Defendants Baran, Cuccinelli, and
 4

 5          McAleenan in their official capacities as the parties responsible for the

 6          adjudication of Hylink’s H-1B petition on behalf of Ms. Li to temporarily
 7
            employ her as the company’s Public Relations Director.
 8
 9      33. USCIS’s decision to deny Hylink’s petition is arbitrary and capricious, as it

10          completely disregards the letters by Hylink in support of the petition, ignores
11
            and misapplies the evidentiary weight of the expert opinion provided, and does
12

13          not consider the supporting evidence. In reaching its conclusions about the

14          evidence provided, USCIS misapplied the relevant regulations; impermissibly
15
            imposed evidentiary requirements outside of what Congress set forth; and
16

17          erroneously concluded that the position of Public Relations Director is not a
18          specialty occupation.
19
        34. In denying the petition, USCIS rejected all of the evidence set forth to
20

21          establish the four alternative regulatory criteria by which the Public Relations
22          Director position qualifies as a specialty occupation, even though only one
23
            criterion needs to be met and Hylink provided evidence for three of the four
24

25          criteria.
26

27

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 1
        35. The denial of Hylink’s petition was arbitrary and capricious, as it was not

 2          supported by the evidence on the record and should be reversed as a violation
 3
            of 5 U.S.C. § 706 (APA).
 4

 5                                IX.    REQUEST FOR RELIEF

 6 WHEREFORE, Plaintiffs Hylink (USA) Digital Solution Co., Ltd. and Ms. Li pray

 7
     that the Court:
 8
 9      1. Declare Defendants’ decision that the evidence submitted by Plaintiffs was

10          insufficient to establish that the position of Public Relations Director is not a
11
            specialty occupation, was arbitrary and capricious, and contrary to law in
12

13          violation of the APA, 5 U.S.C. § 706(2)(A), the INA and the regulations;

14      2. Vacate the denial of Plaintiffs’ H-1B petition dated July 11, 2019, and order
15
            Defendants to take the appropriate corrective action, including but not limited
16

17          to approving the H-1B petition and extending Ms. Li’s H-1B status;
18      3. Award Plaintiffs their costs in the action; and
19
        4. Grant such further relief, including injunctive relief, as the Court deems just
20

21          and proper.
22

23
     Dated: September 23, 2019                             Respectfully submitted,
24

25
                                                             /s/Megan Guzman

26                                                           Megan Guzman
                                                             David Hirson
27                                                           Attorneys for Plaintiffs
28
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